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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

IBRAHIM ANYASS,                                 :
                                                :
              Plaintiff,                        :
                                                :
       v.                                       :        CASE NO: 7:24-cv-24-WLS
                                                :
                                                :
FBI,
                                                :
                                                :
           Defendant.
                                                :
___________________________________

                                           ORDER
       On March 4, 2024, Plaintiff filed his Complaint (Doc. 1). The Complaint names
“F.B.I.” as the only Defendant. The docket does not reflect that a Summons has been issued.
       Federal Rule of Civil Procedure 4(m) provides that:
           If a defendant is not served within 90 days after the complaint is filed, the
       court—on motion or on its own after notice to the plaintiff—must dismiss the
       action without prejudice against that defendant or order that service be made
       within a specified time. But if the plaintiff shows good cause for the failure, the
       court must extend the time for service for an appropriate period.
       The deadline to serve the Defendants was Monday, June 3, 2024. To date, it does not
appear Plaintiff has issued a Summons nor served Defendant. Plaintiff has not filed a notice
that service of process has been properly executed on Defendant or that service was waived.
       Accordingly, the Court ORDERS Plaintiff to file evidence of returned Summonses
executed or waived and/or show cause no later than Tuesday, July 9, 2024, why the
Complaint should not be dismissed for failure to serve Defendant. Plaintiff is hereby noticed
that failure to respond to or comply with this Order will subject this case to dismissal, without
prejudice, as to any unserved Defendant, and without further notice or proceeding.
       SO ORDERED, this 26th day of June 2024.


                                            /s/ W. Louis Sands        ___________
                                            W. LOUIS SANDS, SR. JUDGE
                                            UNITED STATES DISTRICT COURT

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